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                                         13
                                                               UNITED STATES DISTRICT COURT
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                                         14               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                         15
                                               PARAMOUNT PICTURES                     Case No. 2:19-cv-01156-MWF-ASx
                                         16    CORPORATION; COLUMBIA
                                               PICTURES INDUSTRIES, INC.;             STIPULATED CONSENT
                                         17    DISNEY ENTERPRISES, INC.;              JUDGMENT AND PERMANENT
                                               TWENTIETH CENTURY FOX                  INJUNCTION
                                         18    FILM CORPORATION; WARNER
                                               BROS. ENTERTAINMENT INC.;
                                         19    UNIVERSAL CITY STUDIOS
                                               PRODUCTIONS LLLP;                      Judge: Hon. Michael W. Fitzgerald
                                         20    UNIVERSAL TELEVISION LLC;
                                               and UNIVERSAL CONTENT
                                         21    PRODUCTIONS LLC,
                                                         Plaintiffs,
                                         22         vs.
                                         23    OMNIVERSE ONE WORLD
                                               TELEVISION, INC.; JASON M.
                                         24    DEMEO,
                                         25              Defendants.
                                         26

                                         27    AND RELATED THIRD-PARTY
                                               CLAIMS
                                         28
                                                                                     -1-                   2:19-cv-01156-MWF-ASx
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                                          1                                      STIPULATION

                                          2         WHEREAS, Plaintiffs Paramount Pictures Corporation, Columbia Pictures
                                          3   Industries, Inc., Disney Enterprises, Inc., Twentieth Century Fox Film Corporation,
                                          4   Warner Bros. Entertainment Inc., Universal City Studios Productions LLLP,
                                          5   Universal Television LLC, and Universal Content Productions LLC (collectively,
                                          6   “Plaintiffs”) brought this action alleging copyright infringement against Omniverse
                                          7   One World Television, Inc. and Jason M. Demeo (collectively, “Defendants”),
                                          8         WHEREAS, Plaintiffs contend Defendants knowingly and willfully
                                          9   transmitted Plaintiffs’ copyrighted works to customers and induced and contributed
                                         10   to other downstream services copying and transmitting Plaintiffs’ works to
                                         11   customers, infringing Plaintiffs’ exclusive rights under 17 U.S.C. § 106;
                                         12         WHEREAS, Defendants deny liability and have filed a third-party complaint
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                                         13   against certain third-party defendants.
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                                         14         WHEREAS, it is in the interest of justice that a judgment be entered forthwith
                                         15   herein on the claims against Defendants without adjudicating the claims in the Third-
                                         16   Party Complaint, pursuant to Rule 54 (b), Federal Rules of Civil Procedure, there
                                         17   being no just reason for delay.
                                         18         Plaintiffs and Defendants, by and through their undersigned counsel, have
                                         19   therefore stipulated and agreed to the entry of Judgment and a Permanent Injunction
                                         20   against Defendants, all of their agents, servants, and employees, and all persons in
                                         21   active concert or participation or in privity with any of them according to the
                                         22   following terms:
                                         23         1.     For the purposes of this Judgment and Permanent Injunction against
                                         24   Defendants, the following definitions shall apply:
                                         25                (a)    “Omniverse service” shall refer to Defendants’ delivery, and/or
                                         26   the delivery by affiliates and/or third-parties at Defendants’ direction, of audio-visual
                                         27   copyrighted content to direct-to-consumer services, white label providers, affiliates,
                                         28   resellers, and end users, for streaming, copying, recording, storing, or any other use
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                                                            STIPULATED CONSENT JUDGMENT AND PERMANENT INJUNCTION
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                                          1   of such content, as well as all related hardware, software, middleware or services that
                                          2   Defendants marketed, promoted, sold, delivered, supported and/or utilized for this
                                          3   delivery, including but not limited to those services marketed as “Powered by
                                          4   Omniverse,” Omniverse, OmniBox TV, and OmniGo.
                                          5                (b)   “Copyrighted Works” shall mean all copyrighted works (and any
                                          6   portions thereof) in which the Plaintiffs, individually or jointly, (or any parent,
                                          7   subsidiary, or affiliate of any of the Plaintiffs) owns or controls an exclusive right
                                          8   under the United States Copyright Act, 17 U.S.C. §§ 101 et seq.
                                          9         2.     Judgment shall be entered against Defendants and in favor of Plaintiffs
                                         10   on Plaintiffs’ claims of copyright infringement, and damages shall be awarded to
                                         11   Plaintiffs in the amount of $50 Million Dollars.
                                         12                             PERMANENT INJUNCTION
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                                         13         Defendants, any affiliated companies, and all of their officers, directors,
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                                         14   agents, servants, employees, and attorneys, and such other persons who are in active
                                         15   concert or participation or in privity with any of them:
                                         16                (a)   Shall be permanently restrained and enjoined from infringing, by
                                         17   any means, directly or indirectly, any exclusive rights under the Copyright Act in the
                                         18   Copyrighted Works.
                                         19                (b)   Shall cease all operation of the Omniverse service and shutdown
                                         20   the Omniverse service entirely within five (5) days of entry of this Stipulated
                                         21   Judgment and Permanent Injunction.
                                         22                (c)   Shall be further enjoined from operating any website, system,
                                         23   software, or service that is substantially similar to the Omniverse service.
                                         24                (d)   Shall not directly or indirectly take any additional steps to release
                                         25   publicly, distribute, transfer, or give any source code, object code, other technology,
                                         26   domain names, trademarks, brands, assets or goodwill in any way related to the
                                         27   Omniverse service.
                                         28

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                                          1         3.     This Permanent Injunction shall not apply to any uses of the
                                          2   Copyrighted Works for which Defendants have obtained a written license from the
                                          3   appropriate entity that owns or controls the rights to such work, for the use of the
                                          4   work at issue, to the extent the license remains in force and valid.
                                          5         4.     Defendants irrevocably and fully waive notice of entry of the Judgment
                                          6   and Permanent Injunction, and notice and service of the entered Judgment and
                                          7   Permanent Injunction, and understand and agree that violation of the Judgment and
                                          8   Permanent Injunction will expose Defendant to all penalties provided by law,
                                          9   including contempt of Court.
                                         10         5.     Defendants agree forthwith to give notice of this Judgment and
                                         11   Permanent Injunction to each of their officers, directors, agents, servants, employees,
                                         12   assigns, partners, owners, alter egos, affiliates, all entities through which they
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                                         13   conduct business, representatives, successors, licensees, and all those acting in
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                                         14   concert or participation with each or any of them.
                                         15         6.     Defendants consent to the continuing jurisdiction of the Court for
                                         16   purposes of enforcement of the Judgment and Permanent Injunction, and irrevocably
                                         17   and fully waive and relinquish any argument that venue or jurisdiction by this Court
                                         18   is improper or inconvenient. The Court shall maintain continuing jurisdiction over
                                         19   this action for the purpose of enforcing the final Judgment and Permanent Injunction.
                                         20         7.     Defendants irrevocably and fully waive any and all right to appeal the
                                         21   Judgment and Permanent Injunction, to have it vacated or set aside, to seek or obtain
                                         22   a new trial thereon, or otherwise to attack in any way, directly or collaterally, its
                                         23   validity or enforceability.
                                         24         8.     Nothing contained in the Judgment and Permanent Injunction shall limit
                                         25   the right of any Plaintiff to recover damages for any and all infringements by
                                         26   Defendants of any Copyrighted Works occurring after the date the Defendants
                                         27   execute this Stipulation and Judgment and Permanent Injunction.
                                         28

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                                          1         9.      Defendants acknowledge that they have read this Stipulation and
                                          2   Judgment and Permanent Injunction and have had it explained by counsel of their
                                          3   choosing, and fully understand it and agree to be bound thereby, and will not deny
                                          4   the truth or accuracy of any term or provision herein.
                                          5         10.     Plaintiffs shall not be required to post any bond or security, and
                                          6   Defendants permanently, irrevocably, and fully waive any right to request a bond or
                                          7   any other security.
                                          8         Based on the foregoing, it is hereby stipulated by and between the parties to
                                          9   this action, through their counsel, that the Court enter a Judgment and Permanent
                                         10   Injunction.
                                         11

                                         12         SO STIPULATED.
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                                         13   ///
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                                         14   ///
                                         15   ///
                                         16   ///
                                         17   DATED: November 12, 2019             MUNGER, TOLLES & OLSON LLP

                                         18                                        By: /s/ Rose Leda Ehler
                                         19                                            ROSE LEDA EHLER
                                                                                   Attorneys for Plaintiffs
                                         20

                                         21
                                              DATED: November 12, 2019             BYRD CAMPBELL, P.A.
                                         22
                                                                                   By: /s/ Stephen D. Milbrath
                                         23
                                                                                      STEPHEN D. MILBRATH (pro hac vice)
                                         24                                        Attorneys for Defendants
                                         25

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                                          1                                FILER’S ATTESTATION

                                          2
                                                    I, Rose Leda Ehler, am the ECF user whose identification and password are
                                          3
                                              being used to file this Stipulated Judgment and Permanent Injunction. Pursuant to
                                          4
                                              Civil Local Rule 5-4.3.4(a)(2)(i), I hereby attest that the above-named signatories
                                          5
                                              concur in and authorize this filing.
                                          6

                                          7   DATED: November 12, 2019
                                          8                                          By: /s/ Rose Leda Ehler
                                                                                         ROSE LEDA EHLER
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